Case 23-10831-MFW   Doc 894-1   Filed 01/09/24   Page 1 of 2




                      EXHIBIT A
                                      Case 23-10831-MFW          Doc 894-1     Filed 01/09/24    Page 2 of 2




                                                           QUARTERLY STATEMENT

                                                           Ordinary Course Professionals
                                                        October 2023 through December 2023

Name
                                                           October 2023         November 2023        December 2023       Cumulative
                                                             Monthly               Monthly              Monthly          Post-Petition
                                                            Payments              Payments             Payments           Payments1
Ankura Intermediate Holdings, LP                                          $0                    $0                 $0           $14,415
(DBA Ankura Consulting Group LLC)
AP Expert Group LLC                                                       $0                    $0                 $0                    $0
Brikho & Kallabat, P.C.                                                   $0                    $0                 $0                    $0
(DBA Joseph Kallabat and Associates, PC)
Deloitte & Touche LLP                                                    $0              $8,254                $17,719          $50,745
Ernst & Young                                                       $15,000             $20,000                 $5,000          $60,000
Foley & Lardner LLP                                                  $4,879              $9,999                   $956          $24,818
FTI Consulting, Inc.                                                $31,964             $15,993                     $0          $50,020
Haynes and Boone, LLP                                                $1,390                  $0                 $4,560          $12,436
Mercer Capital Management, Inc.                                          $0                  $0                     $0           $1,638
Nelson Mullins Riley & Scarborough LLP                                   $0              $9,574                 $3,375          $17,976
Potter Anderson & Corroon LLP                                        $8,467                  $0                     $0          $13,115
Prospect Law LLP                                                         $0                  $0                     $0               $0
Robar Public Relations                                                   $0                  $0                     $0               $0
RSM US LLP                                                               $0                  $0                     $0               $0
Sullivan & Cromwell LLP                                                  $0             $43,500                $22,500          $66,000
WIT Legal, LLC                                                           $0                  $0                     $0          $10,000


* Figures are rounded to the nearest dollar.


1
    From the Petition Date through December 31, 2023.



    AMERICAS 126044287 v2
